        Case 4:22-cv-00359-JAS Document 66 Filed 01/11/24 Page 1 of 3




 1 Georgia A. Staton, Bar #004863
   Ravi V. Patel, Bar #030184
 2 Elizabeth B. N. Garcia, Bar #032209
   JONES, SKELTON & HOCHULI P.L.C.
 3 40 N. Central Avenue, Suite 2700
   Phoenix, Arizona 85004
 4 Telephone: (602) 263-1752
   Fax: (602) 200-7854
 5 gstaton@jshfirm.com
   rpatel@jshfirm.com
 6 egarcia@jshfirm.com
   Attorneys for Defendants Pima County
 7 Community College District, Michelle Nieuwenhuis,
   Alex Carranza, Amy Montano, and David Rucker
 8
 9                          UNITED STATES DISTRICT COURT
10                                 DISTRICT OF ARIZONA
11 Carlos Carrillo, an adult individual,
                                                   No. 22CV00359-TUC-JAS
12                                   Plaintiff,    DEFENDANTS’ NOTICE OF
13                                                 FILING NON-ELECTRONIC
                   v.                              EXHIBIT
14 Pima County Community College
   District; Michelle Nieuwenhuis, an adult
15 individual; Alex Carranza, an adult
   individual; Amy Montano, an adult
16 individual; David Rucker, an adult
   individual,
17
                                 Defendants.
18
19
20                 Defendants hereby give notice of filing a non-electronic exhibit, in
21 accordance with this Court’s Order of January 4, 2024 (Doc. 65). The audio-recording is
22 relevant to Defendants’ Fourth Amendment arguments and is also referenced as Exhibit M
23 to Defendants’ Material Statement of Facts in Support of its Motion for Summary (Doc.
24 63).
25                 The Notice of Filing is being electronically filed through the Court’s
26 CM/ECF system. Two (2) copies of the USB flash drives containing the audio-recording
27 of Plaintiff Carloss Carrillo’s July 15, 2022, interview with Cpl. Carranza and Ofc.
28 Montano are being sent overnight via Federal Express, to the U.S. District Court in Tucson,


     116575749.1
        Case 4:22-cv-00359-JAS Document 66 Filed 01/11/24 Page 2 of 3




 1 Arizona for delivery on January 12, 2024 (one copy for the Clerk of the Court and one
 2 copy for Judge Soto).
 3                 . A copy of the Notice of Filing and a USB flash drive is also being sent via
 4 U.S. Mail, postage prepaid, to Plaintiff’s counsel.
 5
                   DATED this 11th day of January, 2024.
 6
                                              JONES, SKELTON & HOCHULI, P.L.C.
 7
 8
                                              By /s/ Georgia A. Staton
 9                                               Georgia A. Staton
                                                 Ravi V. Patel
10                                               Elizabeth B. N. Garcia
                                                 40 N. Central Avenue, Suite 2700
11                                               Phoenix, Arizona 85004
                                                 Attorneys for Defendants Pima County
12                                               Community College District, Michelle
                                                 Nieuwenhuis,
13                                               Alex Carranza, Amy Montano, and David
                                                 Rucker
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                      2
     116575749.1
        Case 4:22-cv-00359-JAS Document 66 Filed 01/11/24 Page 3 of 3




 1                                CERTIFICATE OF SERVICE
 2                 I hereby certify that on this 11th day of January, 2024, I caused the foregoing

 3 document to be filed electronically with the Clerk of Court through the CM/ECF System
 4 for filing; and served on counsel of record via the Court’s CM/ECF system.
 5
 6 /s/ Ginger Stahly
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                       3
     116575749.1
